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                           EXHIBIT 1
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                    IN THE UNITED STATES DISTRICT COURT
                       CENTRAL DISTRICT OF CALIFORNIA




   BMG RIGHTS MANAGEMENT               | Case No. 2:18-cv-03723
   (US) LLC, a Delaware limited liability
                                       |
   Company,                            |
                                       |
                Plaintiff,             |
                                       |
   v.                                  |
                                       |
   GLOBAL EAGLE                        |
   ENTERTAINMENT, INC., a Delaware |
   Corporation; INFLIGHT               |
   PRODUCTIONS LTD, a UK private       |
   limited company; and DOES 1-10,     |
   inclusive,                          |
                                       |
                Defendants.            |
   ________________________________________________________________________




                           EXPERT WITNESS REPORT OF

                                      BOB KOHN



                                      May 7, 2019
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                                  I. EXPERT’S QUALIFICATIONS

           1.      I am an attorney licensed to practice in California and before the Second

   Circuit Court of Appeals. My expertise includes business customs and practices within the

   music publishing, recording and entertainment industries, particularly with respect to the

   acquisition and licensing of rights in musical compositions and sound recordings, and the

   customs and practices observed in connection with such transactions. I have an LL.M

   degree from Columbia Law School, earning highest honors (James Kent Scholar), where I

   also was a Visiting Scholar, conducting independent academic research, auditing classes,

   and attending seminars including those which concerned advanced issues in copyright and

   music law (2016-2017).

           2.      I am the author of Kohn On Music Licensing¸ 5th Edition (Wolters Kluwer,

   2019), a treatise of over 1,800 pages which, among other things, addresses various types

   of publishing and recording agreements both domestically and internationally, including

   music industry customs and practices concerning the licensing of musical works and sound

   recordings for distribution and delivery in physical and digital formats.

           3.      Since the book’s first publication in 1992, I have written several updates,

   released in 1996, 2002, 2010, and most recently, in 2019. In preparation for each new

   edition, I attend conferences, provide expert testimony (including legislative and regulatory

   guidance for the U.S. Copyright Office 1), and continually consult with professionals from

   virtually every corner of the music industry who provide me with information about




   1
    See, for example, “Copyright and the Music Marketplace: A Report of the Register of Copyrights,”
   U.S. Copyright Office (February, 2015) (wherein Kohn On Music Licensing or this writer’s
   comments submitted to the Copyright Office was cited over 25 times in support of many changes
   later included in in the Music Modernization Act of 2018).

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   evolving industry practices and licensing trends, some of which they would be reluctant to

   share with industry colleagues for antitrust reasons. The 5th Edition of Kohn On Music

   Licensing, which updates customs and practices described in virtually every chapter,

   including a lengthy discussion of Music Modernization Act of 2018, was published in

   February, 2019.

          4.      Kohn On Music Licensing was cited by the U.S. Supreme Court in Eldred

   v. Ashcroft, 537 U.S. 186, fn. 21 (2003) for entertainment-industry business practices

   concerning the assignment of copyrights. It also was quoted at length in in Bridgeport

   Music v. Dimension Films, 410 F.3d 792, fn. 18 (6th Cir. 2005), concerning industry

   customs and practices in the use of digital samples of existing sound recordings in new

   sound recordings. In Woods v. Bourne Co., 60 F.3d 978 (2d Cir. 1995) and Boosey &

   Hawkes Music Publishers, Ltd. v. Buena Vista Home Video, 145 F.3rd 481 (2d Cir. 1988),

   the treatise was cited for industry practices concerning performance rights administered by

   ASCAP. In Fred Ahlert Music Corp. v. Warner/Chappell Music, Inc. 958 F.Supp. 170

   (1997), aff’d 155 F.3d 17 (2d Cir. 1998), the book was cited with approval regarding the

   interpretation of the scope of mechanical licenses issued by the Harry Fox Agency.

          5.      Upon graduating from Loyola Law School, Los Angeles in 1981, I became

   an associate attorney for the Law Offices of Milton A. “Mickey” Rudin, who represented,

   among others, Frank Sinatra, Liza Minelli, Cher, Steely Dan, Irvin Azoff, Warner Bros.

   Music, Warner Bros. Publications, 20th Century Fox Studios, and other entertainment

   industry clients. One of my responsibilities there was to participate in the drafting of a new

   set of standard form music synchronization licenses for Warner Bros. Music. I also licensed

   numerous musical works and sound recordings for our motion picture producer clients,



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   including Front Line Management, Inc., owned by Irving Azoff, who co-produced the film

   Fast Times At Ridgemont High. I filed a lawsuit on behalf of Frank Sinatra to enjoin the

   unauthorized use of his likeness in a commercial advertisement. During that time, and for

   several years thereafter, I served as an Associate Editor of the Entertainment Law Reporter.

          6.      In 1998, I founded and became Chairman of EMusic.com, Inc. (NASDAQ:

   EMUS), a pioneering digital music download company which, in July, 1998, began selling

   for 99 cents the permanent download of digital files containing sound recordings in the

   MP3 format. Serving as chief legal counsel for EMusic, I drafted and negotiated all of the

   early license agreements by which we eventually licensed nearly a million sound

   recordings and the musical works embodied in them from hundreds of independent record

   labels, and hundreds of major and independent music publishers, both directly and through

   the Harry Fox Agency. During that time, I made numerous presentations to representatives

   of the U.S. government, including as the Federal Trade Commission, the Department of

   Justice, and members of the U.S. Senate and House of Representatives, regarding emerging

   digital technologies affecting the digital transmission and delivery of sound recordings and

   musical works. I also testified before the European Union on the subject of music licensing

   for the Internet, copyright protection, and cross-border transactions in digitally transmitted

   music. EMusic was acquired by Universal Music Group in 2001.

          7.      In 2005, I founded RoyaltyShare, Inc., a provider of revenue and royalty

   processing services that assists record companies with discharging their royalty obligations

   to recording artists, record producers, and music publishers.

          8.      In 2002, I testified as an expert for Sony Music Entertainment regarding the

   validity of a copyright in a musical work alleged to have been infringed by the Dixie



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   Chicks. Albert E Brumley & Sons, Inc. v. Sony Music Entertainment, Inc., Case No. 3:00-

   cv-05110-RED (2000).

          9.      In 2007, I testified before late Judge William C. Conner, Sr. on behalf of

   ASCAP to inform the court on how musical works and sound recordings are used on the

   Internet, including their use on services such as AOL, RealNetworks, and Yahoo! See,

   United States v. ASCAP in the Matter of America Online, Inc., RealNetworks, Inc., and

   Yahoo!, Inc., 559 F.Supp.2d 332 (2008).

          10.     In 2009, I testified as an expert for Warner Music Group in Zappa v.

   Rykodisc, Inc., Case No. 08-CV-00396-WHP, a case involving the interpretation of an

   agreement regarding the sale of sound recordings.

          11.     In 2015, on behalf of the recording artist known as Jay-Z, I provided expert

   witness testimony on the language and purpose of several music license agreements in light

   of music industry practices. See, Fahmy v. Jay-Z (aka, Shawn Carter), et. al., Case No.

   2:07-cv-05715-CAS (April 28, 2015).

          12.     In 2016, on behalf of Universal Music Group, I provided an expert witness

   report on the interpretation of the royalty provisions of an artist’s recording agreement.

   Beckett v. Universal International Music B.V., Case No. CV 15-02153 (2016).

          13.     In 2017, on behalf of recording artist Katy Perry, I provided a federal court

   with an expert report on industry customs and practices concerning the scope of live

   concert public performances licenses granted by ASCAP. See, Marcus Gray v. Katy Perry,

   Case No. 2:15-cv-05642-CAS-JC Civil Minutes—General, Dkt# 246 (Apr. 3, 2017).

          14.     In 2018, I testified as an expert on the interpretation of the terms of an

   exclusive recording agreement between Universal Music Group and the recording artist



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   known as “50 Cent,” as well as industry practices concerning the use of the name, voice

   and likeness of a recording artist in connection with the marketing and distribution of sound

   recordings of other recording artists. Curtis James Jackson, III (p/k/a/ 50 CENT) v. William

   Leonard Roberts, II (p/k/a/ RICK ROSS), Case No. 3:17-cv-00550-WWE. (D. Conn.).

          15.     Earlier this year, I submitted an expert report, a rebuttal expert report, and

   an affidavit for several music publishers, including the songwriter/owners of the musical

   works performed by Frankie Valli and the Four Seasons (e.g., Big Girls Don’t Cry, Walk

   Like a Man, Sherry, etc.), regarding industry customs and practices concerning the

   licensing of musical works for use on digital music service providers. Robert Gaudio d/b/a

   Seasons Four Music, et. al. v. Spotify USA, Inc., Case No. 3:17-cv-01616, District Judge

   Jon Philips McCalla (Mid. Dist. Tenn., 2018).

          16.     Last month, I was retained by the record company Universal Music Group

   in a case regarding the interpretation of various provisions of a record producer’s recording

   agreement. Overrated Productions, Inc. v. UMG Recordings, Inc., Case. No.

   2:2019cv02899-RSWL (C. Distr. CA, Apr. 15, 2019).

          17.     I am the co-inventor of the patent for a means of tracking revenues and

   producing royalty statements arising from the exploitation of musical works and sound

   recordings. Web-based Royalty System and User Interface, Patent No. US 8,712825 (April

   29, 2014).

                                   II. EXPERT ASSIGNMENT

          18.     My assignment in this report was to help supplement the record with music

   industry customs and practices concerning the licensing of musical works and sound

   recordings for reproduction, distribution, and public performance in connection with in-


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   flight listening by passengers traveling on commercial airlines. Specifically, I’ve been

   asked to opine on at least the following:

          •     The kinds of music services offered by the Defendants
          •     The kinds of licenses required by Defendants to operate its music services
          •     Music industry customs and practices in procuring the licenses required to
                operate such services
          •     Whether the policies and practices chosen by Defendants to procure the
                required reproduction licenses conformed to industry practices and the law

          19.      In preparing this report, I have relied on music industry standards

   concerning the licensing of musical works and sound recordings, as well as my education,

   training, and personal experience in representing music publishers, record companies, TV

   & film producers and studios and others, as well as in founding and operating a music

   service provider.

           III. THE FACTS CONSIDERED, THE OPINIONS EXPRESSED HEREIN AND
                               THE BASIS AND REASONS FOR THEM


   A.     Facts Considered

          20.      Plaintiff BMG Rights Management (US), LLC (hereinafter “BMG”) is a

   record company and music publishing company that owns or controls the rights to

   thousands of sound recordings and musical works. It holds copyrights in and to the sound

   recordings and musical works listed in the exhibits to the Complaint in this matter and

   produced during discovery.

          21.      Defendants Global Eagle Entertainment, Inc. and Inflight Productions Ltd

   Limited Company (collectively, “IFP”) create and offer programs of musical works and

   sound recordings for in-flight listening by passengers traveling on commercial airlines. It



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   is my understanding that IFP creates both (a) radio-like programs (e.g., including channels

   that contain playlists of discrete genres of music) accessible by passengers through airplane

   armrests, and (b) audio-on-demand programs that offer passengers a form of interactivity

   (e.g., the ability to pause, fast forward, rewind, rearrange, and otherwise manipulate music

   tracks) using seatback touchscreen panels. IFP’s radio-like programing may also include

   providing pre-programmed background for performance on aircraft during passenger

   boarding and prior to take-off, and after landing and during disembarkation. IFP may also

   reproduce and publicly display images or artwork associated with the recording artists of

   the recordings being made available as part of the service. See, UMG Recordings v. Global

   Eagle, No. 13-cv-3466 (C.D. Cal., Mar. 31, 2016, adopted as final ruling on Apr. 20, 2016).

            22.    I understand that IFP acquired the musical recordings for these uses in either

   physical CD or digital permanent download form and copied each track to a computer hard

   drive. These tracks were compiled into playlists that included spoken-word programming,

   such as commentary and interviews. After creating a copy of each program, IFP had the

   program encoded to meet each airline’s technical specifications. Even where encoding took

   place overseas, a copy of the program was eventually imported into the United States,

   either directly to a U.S. airline hub to be loaded on aircraft or to a third-party integrator to

   be distributed to U.S. airlines.

            23.    I understand that IFP has not engaged in the reproduction or public

   performance of audiovisual works containing BMG’s copyrighted musical works or sound

   recordings, but should I learn it had done so, I reserve the right to supplement the opinions

   below.




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            24.      I also considered the facts or data set forth below, including those listed in

   Section VI of this report, and any exhibits attached hereto.

   B.       Licenses Under Copyright Required by IFP

            25.      A provider of an in-flight music service will require licenses from those

   who control the copyrights in the sound recordings 2 to be offered by the service and any

   musical works 3 embodied in those recordings. A license to reproduce and publicly display

   any copyrighted images or artwork (“Cover Art”) associated with such recordings will also

   be required.

            26.      Owing to the divisibility of copyright, an in-flight music service provider

   will require various forms of licenses to exercise one or more of a copyrighted owners

   exclusive rights under copyright, often divided up and licensed separately to achieve the

   public purposes for which copyright has been recognized. To that end, Section 106 of the

   Copyright Act gives the copyright owners several exclusive rights, including the exclusive




   2
    A sound recording is a work that results “from the fixation of a series of musical, spoken, or other sounds,
   but not including the sounds accompanying a motion picture or other audiovisual work, regardless of the
   nature of the material objects, such as disks, tapes, or other phonorecords, in which they are embodied.” 17
   U.S.C. §101. Thus, a sound recording is an audio-only work and one that is that is separate from any musical
   or literary work that may be embodied in it. A sound recording may be distributed by means of phonorecords
   (defined below), digitally transmitted by means of digital phonorecord deliveries (defined below) and other
   forms of digital audio transmissions, or otherwise transmitted, as by terrestrial analog broadcast.
   3
     The term musical work is not defined by the Copyright Act, but is generally understood to mean a song
   (i.e., a short poem or set of words set to music) or an instrumental composition containing one or more
   organizational elements, such as melody, chord progression, and rhythm or beat. In the music industry, the
   terms musical work, musical composition, and song are often used synonymously. A sound recording
   embodying a musical work is considered a derivative work of such musical work. Musical works may be
   reproduced in copies or phonorecords.



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   right to reproduce the work in copies 4 and phonorecords 5 (17 U.S.C. §106(1)), to prepare

   derivative works (§106(2)), to distribute the work in copies or phonorecords (§106(3)), to

   perform the work publicly (§106(4), and to display the work publicly (§106(4)). In the case

   of sound recordings, in the United States a copyright owner’s exclusive right to perform

   the recording publicly is limited to public performances that are by means of a digital audio

   transmission. (§106(6)).

            27.      Due to this divisibility of copyright, each of these acts may require a

   separate license, which may be administered directly by the copyright owner or by various

   agents under its authority, and the fact that a licensee is licensed to do one of these acts

   does not automatically mean the licensee is authorized to do another.

            1.       Musical Work Licenses

            28.      Musical works are protectable as copyrighted works of authorship under the

   Copyright Act. 17 U.S.C §102(a)(2). With respect to musical works, in-flight music

   services will require three basic forms of licenses: (a) a license to reproduce copies to

   facilitate the public performance of the musical works (i.e., server copy license) to the



   4
    The term copies means “material objects, other than phonorecords, in which a work is fixed by any method
   now known or later developed, and from which the work can be perceived, reproduced, or otherwise
   communicated, either directly or with the aid of a machine or device. The term ‘copies’ includes the material
   object, other than a phonorecord, in which the work is first fixed.” 17 U.S.C. §101.
   5
     The term phonorecords means “material objects in which sounds, other than those accompanying a motion
   picture or other audiovisual work, are fixed by any method now known or later developed, and from which
   the sounds can be perceived, reproduced, or otherwise communicated, either directly or with the aid of a
   machine or device. The term phonorecord includes the material object in which the sounds are first fixed. 17
   U.S.C. §101.

   Thus, material objects—e.g., vinyl album, tape, compact disk, hard disk, flash memory—in which musical
   works may be reproduced, as embodied in a sound recording, are phonorecords. All other material objects
   in which musical works may be reproduced, other than as embodied in a sound recording—e.g., printed
   paper, audiovisual works recorded on laser disks, hard disks, or flash memory—are copies.



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   passengers on a commercial aircraft, (b) a license to distribute or import copies or

   phonorecords of the musical work for such purpose, and (c) a license to perform the works

   publicly (i.e., public performance license) for such purpose. 6 The first is a license required

   under the authority of the copyright owner’s exclusive right to reproduce the work in copies

   and phonorecords (17 U.S.C. §106(1)). The second is required under the authority of the

   copyright owner’s exclusive right to distribute copies or phonorecords of the work

   (§106(3)) or import copies or phonorecords thereof (§602(a)(1)). The third is required

   under the copyright owner’s exclusive right of public performance (§106(5)) or, in the case

   of sound recordings, right of public performance by means of digital audio transmission

   (§106(6)).

                         a. Server Copy Licenses

           29.      It is undisputed that IFP reproduces BMG’s copyrighted musical works in

   the course of making server copies used to facilitate public performances on aircraft. A

   server copy (or more appropriately, server phonorecord) of a sound recording embodying

   a musical work is a phonorecord that is made, not for distribution for private use, but for

   some other purpose, such as to facilitate a public performance, broadcast, or digital

   transmission, such as an interactive stream, limited download, or permanent download.

   (Traditionally, copies reproduced not for distribution to the public for private use, but to

   facilitate a broadcast or other transmission, were called electrical transcriptions. With

   advent of digital reproduction, where copies of musical works began to be reproduced on



   6
    What licenses are required for in-flight use of music on commercial airliners has been no secret. A section
   entitled “Transcriptions for In-Flight Use on Airlines” has been included in every edition of Kohn On Music
   Licensing since the book was first published in 1992. See, A. Kohn & B. Kohn, The Art of Music Licensing,
   Chapter __ on Electrical Transcription Licenses (Prentice-Hall Law & Business, 1992).


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   “computer servers,” these copies are now generally known as as “server copies”). 7

   Because IFP reproduces server copies for the commercial purpose of facilitating public

   performances, IFP requires a server copy license. 8

            30.      Section 115 Compulsory License Provision Not Applicable. While the

   Copyright Act provides a copyright owner with various exclusive rights under copyright

   (e.g., reproduction, distribution, public performance), the Copyright Act uses the principle

   of divisibility to recognize certain other distinctions important to further the purpose served

   by the copyright interest. For example, the compulsory license provision under Section 115

   of the Act implicitly draws a distinction between phonorecords made and distributed to the

   public for private use and those made for other purposes, such as the commercial purpose

   of facilitating an analog broadcast or digital audio transmission. Because IFP does not

   appear to be reproducing copies of BMG’s musical works for the purpose of distributing

   those copies to the public for private use, Section 115’s compulsory license provision does

   not apply. This means that BMG could at no time be compelled to grant reproduction

   licenses for IFP’s acts of reproduction.




   7
     See, generally, Kohn On Music Licensing, 5th Ed., Chapter 14 on “Licensing Music in Background Music
   Services, Digital Jukeboxes, and Other Commercial Reproductions (Electrical Transcription Licenses)” at
   989-1009 (Wolters Kluwer, 2019). In the music industry, the terms electrical transcription, server copy,
   ephemeral recording, source file, and/or recording “master” or “stamper,” are various terms used to describe
   a phonorecord used to facilitate either the duplication and distribution or digital delivery of musical works to
   the public for private use or to facilitate the public performance, broadcast, or digital transmission thereof.
   The kinds of phonorecords in which server copies are embodied are typically computer hard disks or other
   form of permanent computer memory that operate as “servers,” or devices that facilitate the serving or
   transmission of data, such as data that comprises the digital representation of a sound recording.
   8
     The term server copy license, a form of electrical transcription license, permits another, under the authority
   of a copyright owner of a musical work, to reproduce a sound recording embodying the musical work in a
   phonorecord that is not for distribution or digital delivery to the public for private use, but is for some other
   commercial purpose, such as to facilitate a performance, broadcast, digital delivery, or other kind of
   transmission. Id.

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          31.     Server Copy Licensing is Well Established by Case Law. The need to secure

   a server copy license to make reproductions that facilitate a public performance has been

   well established by case law. In Rodgers & Hammerstein Org. v. UMG Recordings, Inc.,

   60 U.S.P.Q.2d (BNA) 1354, No. 00-Civ-9322 (JSM) (S.D.N.Y., 2001), the court held that

   server copies of sound recordings of musical works reproduced without authorization for

   purposes of facilitating interactive streaming constituted an infringement of the copyrights

   in the musical works embodied in those recordings. Similarly, in UMG Recordings, Inc. v.

   MP3.com, Inc., 92 F. Supp. 2d 349 (S.D.N.Y. 2000), the court held that the unauthorized

   reproduction by MP3.com of hundreds of thousands of server copies of sound recordings,

   embodying as many copyrighted musical works, for the purpose of facilitating interactive

   streams without authorization of the owners of the sound recording copyrights, constituted

   an infringement of those copyrights, and were not a fair use thereof.

          32.     Public Performances Licenses Do Not Authorize the Reproduction of the

   Musical Works in Server. Even if IFP secured a license to perform publicly the BMG’s

   musical works in connection with its service, such as from ASCAP or BMI, it would still

   require a separate server copy license to authorize its reproductions of BMG’s copyrighted

   musical works. In accordance with music industry custom and practice, the agreements

   under which IFP would procure public performance licenses will typically be limited to

   the exercise of the copyright owner’s exclusive right of public performance under Section

   106(d) of the Copyright Act. The agreement will not include a license to reproduce copies

   or phonorecords of the musical work for any purpose.




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          33.     Indeed, such agreements typically make it abundantly clear that only a

   license for the public performance, not for reproduction, is granted. For example, the public

   performance license IFP procured from                                states,




          Similarly, the public performance license IFP procured from

            states,




                      b. Distribution or Importation Licenses

          34.     As noted, the Copyright Act provides an owner of a musical work the

   exclusive right to distribute copies or phonorecords of the work (17 U.S.C. §106(3)) or

   import copies or phonorecords of the work (§602(a)(1)). To do either act, one would

   require a license from the copyright owner. The evidence shows that, even where IFP was

   reproducing BMG’s musical works outside of the U.S., it was importing copies or

   phonorecords of them into the U.S. or distributing such copies or phonorecords within the

   U.S. The evidence further shows that IFP has been engaging in such activity without

   authorization from BMG.




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                         c. Public Performance Licenses

            35.      To offer performances of copyrighted musical works on commercial aircraft

   for listening by passengers, IFP requires a public performance license (under the authority

   of the music copyright owner’s exclusive right to perform the work publicly). This is

   because the service facilitates the rendering or playing 9 of the musical works while the

   transmission or stream of its recording is being communicated or delivered to the public

   by the means of a device or process.

            36.      “To perform . . . a work publicly means (1) to perform or display it at a place

   open to the public or at any place where a substantial number of persons outside of a normal

   circle of a family and its social acquaintances is gathered; or (2) to transmit or otherwise

   communicate a performance…of the work…to the public, by means of any device or

   process, whether the members of the public capable of receiving the performance or display

   receive it in the same place or in separate places and at the same time or at different times.”

   17 U.S.C. §101.

            37.      When an airline or inflight music service performs a musical work by

   broadcast over its loud speaker system or in-seat speakers, it is doing so “at a place . . .

   where a substantial number of persons outside of a normal circle of a family and its social

   acquaintances is gathered.” Where the musical work is transmitted on an interactive or

   partially interactive basis, such as to a seatback touchscreen panel, it is being to transmitted

   or otherwise communicated “to the public, by means of any device or process, whether the

   members of the public capable of receiving the performance or display receive it in the




   9
    “To perform a work means to recite, render, play, dance, or act it, either directly or by means of any device
   or process. . . .” 17 U.S.C. §101.

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   same place or in separate places and at the same time or at different times.” Either way, the

   performances of these musical works aboard a commercial aircraft are being made publicly.

           38.     Licenses to so publicly perform such musical works would be required from

   each public performance organization (“PRO”) whose repertory was implicated by the

   performances facilitated by IFP (e.g., ASCAP, BMI, SESAC, GMR) or directly from the

   respective music copyright owners.

           39.     Because the actions of both the commercial airline company (e.g., United

   Airlines, American Airlines) and an in-flight music service company (e.g. IFP) are

   involved in the process of effecting public performances of musical works, it is the custom

   and practice of public performance rights organizations (“PROs”) to license one or the

   other. Thus, if an in-flight music service is providing audio content to an airline for its fleet

   of aircraft, then that service may license public performances for that fleet. If an airline

   prefers to hold the performance licenses, then the airline may license public performances

   directly from the PROs. For example, BMI offers two performances licenses for these

   purposes: (a) for music services, the BMI Aircraft Music Service Agreement and (b) for

   airlines, the BMI Aircraft Agreement.

           40.     If the airline chose to procure its own public performance licenses, then the

   in-flight music service provider would only require a server copy license, which license

   would customarily include a license to distribute or import the copies reproduced under the

   license. If the airline chose not to obtain the public performance license, the in-flight music

   service provider would need to procure both the server copy license and the public

   performance licenses. An airline may prefer to have the in-flight music provider procure

   the appropriate performance licenses as part of the service it is providing to the airline.



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          41.     Even if IFP had procured a public performance license for the performances

   of musical works provided to passengers, a license to reproduce copies and phonorecords

   of the musical works, and to distribute or import them, would still be required.

                      d. Typical Terms of In-Flight Licenses for Musical Works

          42.     Licenses required for in-flight use of musical works in the United States are

   customarily licensed by two different types of sources: (a) the music publisher for the

   reproduction (i.e., server copy) and/or distribution/importation licenses and (b) the PROs

   for the public performance licenses.

          43.     Reproduction and Distribution/Importation License. For the reproduction

   (i.e., server copy) and/or distribution/importation licenses, music publishers, or agents and

   administrators acting on their behalf, will customarily seek between 12-15% of the in-flight

   music service providers gross revenue, subject to monthly minimum fees based on the

   number of aircraft licensed and the type of service offering (e.g., (i) audio-only content,

   (ii) audiovisual content, (iii) boarding and disembarking use only). The license would have

   a term of two or three years with automatic renewal subject to termination by the publisher

   some time (e.g., 60 days) prior to the expiration of a renewal period. The territory of license

   may be limited to the United States and its territories, though major music publishers may

   offer a worldwide license.

          44.      Public Performance License. For public performance licenses, the terms

   may vary from PRO to PRO, but a PRO will typically charge a fee per aircraft covered by

   the license. Again, the fee may vary depending upon the type of offering: (i) audio only

   content, (ii) audiovisual content, (iii) boarding and disembarking use only. Audio-only

   programing may range from $30 to $85 per aircraft, depending on the number of seats on



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   the aircraft (e.g., 100 or less, 101-200, 201-300, 300+). Where the musical works are

   embodied in audiovisual works, the fee may range between $4 to $12 per aircraft. Where

   audio-only programming is offered only during boarding and disembarking, the fee may

   vary from $7 to $23 per aircraft, depending upon the number of seats on the aircraft. The

   PRO requires periodic reports from the in-flight music service provider or airline, as the

   case may be, including information necessary to accurately calculate the fee. The license

   would be limited to the United States and its territories. A public performance license

   would be required from the respective PRO in each territory in which aircraft would arrive

   or depart with passengers. The license would typically have a term of two or three years,

   renewable for one year periods unless cancelled by either party not less than 60 days prior

   to the end of any contract year.

          45.     Sound Recording License Not Included. Neither a license to reproduce and

   distribute a musical work, nor a license to publicly perform a musical work, will normally

   authorize the reproduction, distribution, importation or public performance of any sound

   recording that may embody the musical work.

          2.      Sound Recording Licenses

          46.     Sound recordings fixed on or after February 15, 1972 may be protected as

   a copyrighted work of authorship under the Copyright Act. 17 U.S.C §102(a)(7). Sound

   recordings fixed prior to February 15, 1972 (“Pre-’72 recordings”) are protectable under

   state law. See, A&M Records, Inc. v. Heilman, 75 Cal. App. 3d 554, 560-61 (1977); Lone

   Ranger Television, Inc. v. Program Radio Corp., 740 F.2d 718, 725 (9th Cir. 1984).

          47.     With respect to sound recordings, an in-flight music service provider will

   require at least three forms of licenses: (a) a license to reproduce copies to facilitate the



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   public performance of the musical works (i.e., master use license), (b) a license to distribute

   or import copies or phonorecords of the sound recording for such purpose, and (c) a license

   to publicly perform the sound recording to the extent the copyright owner has the exclusive

   right of public performance (i.e., in U.S., public performance by means of digital audio

   transmission license). The provider may also require a license to reproduce and display

   Cover Art relating to the recordings reproduced and performed by the service.

                      a. Master Use Licenses

          48.     It is undisputed that IFP reproduces BMG’s copyrighted sound recordings

   in the course of making server copies used to facilitate public performances of those

   recordings on commercial aircraft. The commercial reproduction of sound recordings is

   typically authorized in what is customarily known as a master use license.

          49.     Because IFP reproduces copies of BMG’s recordings for the commercial

   purpose of facilitating public performances, IFP requires a master use license under the

   authority of the BMG’s exclusive right to reproduce the work in phonorecords. See, UMG

   Recordings, Inc. v. MP3.com, Inc., 92 F. Supp. 2d 349 (S.D.N.Y. 2000) (held, the

   unauthorized reproduction by MP3.com of hundreds of thousands of server copies of sound

   recordings for the purpose of facilitating interactive streams without authorization of the

   owners of the sound recording copyrights, constitute an infringement of those copyrights).

          50.     Master use licenses would be procured directly from the owners of the

   sound recordings, typically a record company. Like server copy licenses for musical works,

   these master use licenses are not subject to any compulsory license provisions.




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                     b. Distribution or Importation Licenses

          51.     As noted, the Copyright Act provides an owner of a sound recording the

   exclusive right to distribute copies or phonorecords of the recording (17 U.S.C. §106(3))

   or import copies or phonorecords of the recording (§602(a)(1)). (As noted, similar rights

   are afforded under state law to owners of Pre-’72 sound recordings). To do either act, one

   would require a license from the copyright owner of the sound recording. The evidence

   shows that, even where IFP was reproducing BMG’s sound recordings outside of the U.S.,

   it was importing copies or phonorecords of them into the U.S. or distributing such copies

   or phonorecords within the U.S. The evidence further shows that it has been engaging in

   such activity without authorization from BMG.

                     c. Public Performance Licenses

          52.     In the United States, the exclusive rights of a copyright owner to authorize

   the public performance of a sound recording is limited to performing the recording publicly

   by means of a digital audio transmission. 17 U.S.C. §106(6). Thus, if the public

   performance is transmitted by analog means, the transmitter does not require a license from

   the owner of the sound recording for the performance. In addition, Section 114 of the

   Copyright Act provides for certain exemptions from Section 106(6), one of which is an

   exemption for non-interactive digital audio “transmissions within a business establishment,

   confined to its premises or immediately surrounding vicinity.” 17 U.S.C. 114(1)(C)(iii).

   Owners of Pre-’72 sound recordings have similar rights under state law, except insofar as

   such rights may be exercised under the terms of the Music Modernization Act of 2018 as

   of the October 11, 2018 effective date of such Act.




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          53.     Accordingly, to the extent the audio-only transmissions within an aircraft

   are either analog transmissions or non-interactive digital transmissions confined to the

   interior of the aircraft, no public performance license would be required for such

   transmissions of sound recordings. Otherwise, a license to perform the sound recordings

   publicly would be required. To the extent an interactive transmission complies with Section

   114’s statutory compulsory license provisions, the transmitter may compel the sound

   recording owner to grant a statutory license under the terms established by regulation. Such

   compliant transmissions are customarily administered in the U.S. by SoundExchange. A

   licensee, however, may negotiate greater flexibility in the frequency or interactivity of

   content offered by procuring such a license directly from the applicable record companies.

          54.     It is my understanding that IFP offers two kinds of audio-only programs for

   in-flight listening on commercial airlines: (a) radio-like programs (e.g., including channels

   that contain playlists of discrete genres of music) accessible by passengers through airplane

   armrests or used as background music for boarding and landing, and (b) audio-on-demand

   programs that offer passengers a form of interactivity (e.g., the ability to pause, fast

   forward, rewind, rearrange, and otherwise manipulate music tracks) using seatback

   touchscreen panels.

          55.     With respect to the audio-only, radio-like programs, whether transmitted on

   an analog or non-interactive digital basis (e.g., through on board load speakers or passenger

   seat armrests), no public performance license would be required for the performances of

   the sound recordings. Otherwise, licenses would be required from the sound recording

   owners or their representatives. As noted, with respect to audio-on demand programs, the

   music service provider would require a public performance license, either a statutory



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   license administered by SoundExchange or negotiated license administered by the

   applicable record companies.

          56.     Even if IFP were not required to procure a public performance license for

   the performances of sound recordings provided to passengers, a license to reproduce copies

   and phonorecords of the sound recordings, and to distribute or import them, would still be

   required.

                      d. Typical Terms of In-Flight Licenses for Sound Recordings

          57.     Unlike in-flight licenses for musical works, which are customarily licensed

   by two sources, a music publisher for the reproduction license and a PRO for the public

   performance license, licenses for the sound recordings are customarily provided by one

   source, the record company or other owner of the sound recordings. The record company

   would typically provide all the licenses an in-flight music service would require from the

   record company with respect to its use of its sound recordings. This would include the

   master use license, distribution and important license, and, to the extent required, the public

   performance license, for each recording. The agreement would also customarily include a

   license to use the Cover Art associated with the sound recordings licensed, but they would

   not include a license to any musical works underlying such recordings.

          58.     Record companies would customarily demand an advance against monthly

   fees that will depend upon the seating capacity of the aircraft, number of aircraft, and the

   scope of the use (e.g., audio-only or audiovisual programmed channels, background music

   for boarding and landing, the scope of interactivity permitted), and the audio content

   selected for use, among other factors. The term of agreements ranged from 18 months to

   two years, renewable but subject to cancelation by the record company upon several



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   months’ notice before the end of each renewal period. They are typically made on a

   worldwide basis.

          59.




          3.      Cover Art Licenses

          60.     To the extent the music service provider desires to reproduce Cover Art with

   the marketing or presentation of the sound recordings to passengers, the music service

   provider will require a licenses to reproduce and publicly display such Cover Art. 17 U.S.C.

   §106(1); §106(5). The sound recording copyright owner typically owns or controls the

   administration of the Cover Art and would customarily license the right to reproduce and

   publicly display Cover Art as part of a license to reproduce the sound recordings to which

   the art is associated. To the extent IFP used Cover Art without authorization from the

   copyright owners, they could be held to have infringed each of the copyrights in such Cover

   Art (in addition to each sound recording and musical work).




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   C.     IFP’s Overseas Licenses Are Not Applicable in the U.S.

          61.     It is the custom and practice of the music industry that the rights societies,

   such as PROs and other licensing and collection agencies, limit the applicability of the

   licenses they grant to the territory or territories in which they are authorized by the

   copyright owners to operate.

          62.     To the extent IFP contends that they had the right to reproduce, distribute,

   and/or publicly perform musical works and sound recordings by virtue of licenses they may

   have received from organizations operating outside of the U.S., including PRS for Music

   or MCPS (U.K.) or PPL (U.K.), that contention would be misplaced. Licenses issued by

   such organizations are limited by practice to the reproduction, distribution, and/or public

   performance solely in specified territories outside the United States. In the case of PRS for

   Music and PPK, that would be the



          63.     Accordingly, any public performances of the musical works in the United

   States would not be covered by any public performance license issued to IFP for public

   performance outside the United States, such as in the European Economic Area.

          64.     Likewise, any reproductions lawfully made outside of the United States by

   license from overseas organizations could not be distributed within, or imported into, the

   United States without the authority of the owner of copyright. See, 17 U.S.C. §106(3);

   §602(a)(1).




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   D.     Trier of Fact Could Find Infringement Was Willful

          65.     Where a court finds that an infringement was committed willfully, the court

   in its discretion may increase the award of statutory damages to a sum of not more than

   $150,000” for all infringements of any one work. See 17 U.S.C. § 504(c)(1)-(2). Enhanced

   statutory damages for willfulness are intended to “‘sanction and vindicate the statutory

   policy' of discouraging [copyright] infringement,” Peer Int'l Corp. v. Pausa Records, Inc.,

   909 F.2d 1332, 1337 (9th Cir. 1990) (quoting F.W. Woolworth Co. v. Contemporary Arts,

   Inc., 344 U.S. 228, 233 (1952)), and “may be necessary in a particular case to prove that it

   ‘costs less to obey the copyright laws than to violate them,'” Wildlife Express Corp. v.

   Carol Wright Sales, Inc., 18 F.3d 502, 514 (7th Cir. 1994) (citation omitted).

          66.     A plaintiff sustains its burden of proving willfulness “by showing [the]

   defendant knew or should have known it infringed [the plaintiff's] copyrights. . . . Willful

   does not mean malicious, rather, it means with knowledge, whether actual or constructive.”

   UMG Recordings, Inc. v. Disco Azteca Distribs., Inc., 446 F.Supp.2d 1164, 1173 (E.D.

   Cal. 2006) (quoting Basic Books, Inc. v. Kinko's Graphics Corp., 758 F.Supp. 1522, 1543

   (S.D.N.Y. 1991)); accord Peer Int'l, 909 F.2d at 1335. “Alternatively, willfulness is shown

   where ‘the defendant recklessly disregarded the possibility that its conduct represented

   infringement.'” Id. (citing Yurman Design, Inc. v. PAJ, Inc., 262 F.3d 101, 112 (2d Cir.

   2001); Sega Enters. Ltd. v. MAPHIA, 948 F.Supp. 923, 936 (N.D.Cal. 1996)).

          67.     Although the determination of willfulness generally requires an assessment

   of a party's state of mind and is ordinarily a question of fact reserved for the jury, “where

   the relevant facts are admitted or otherwise undisputed, willfulness can be appropriately




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   resolved on summary judgment.” See id. (citing, among others, Peer Int'l, 909 F.2d at

   1335-36; Sega Enters., 948 F.Supp. at 936).

          68.     The record is replete with evidence showing that IFP knowingly infringed

   BMG’s copyrighted musical works and sound recordings over a period of years and that

   IFP consciously and repeatedly made business decisions to continue its unauthorized use

   of BMG’s works.

          69.     In March, 2008, IFP hired the U.K.-based intellectual property consultant

   Mark Isherwood to assess the legality of IFP's use of copyrighted music around the world,

   including the U.S. By email dated June 26, 2008, the head of IFP’s audio department in the

   U.S., Jeff Borgeson, expressed his “concerns” to Tony Taverner, the Managing Director of

   IFP, about the lack of audio licenses in the U.S., writing that his staff in Los Angeles had

   been working “under the radar.” GEE0000762.

          70.     By email dated April 23, 2009, Mr. Isherwood wrote to Mr. Taverner and

   Mr. Borgeson, “From an IFP perspective no licences are in place in the US that we have

   been able to identify.” GEE0006348. Mr. Borgeson responded, “Thank you for your

   response. We understand there are several ‘gray’ areas with U.S. licensing.” GEE0006347.

   Mr. Borgeson then asked whether Mr. Isherwood would be opposed to forwarding his

   email to Mr. Borgeson’s contact at United Airlines. Id. Mr. Taverner, in an obvious attempt

   to obstruct the dissemination of the information regarding IFP’s lack of licenses in the U.S.,

   replied to Mr. Borgeson, “If Mark is ok about you forwarding it you should remove the bit

   about our license.” Id.

          71.     On May 7, 2009, Mr. Isherwood met with Mr. Borgeson and provided IFP’s

   Los Angeles staff with a presentation regarding the license issues. GEE0006206. Mr.



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   Isherwood subsequently sent a copy of his slide presentation to Mr. Borgeson.

   GEE0006205. A version of that slide presentation dated October 23, 2009, eighteen months

   later, included a slide that said,

                                               Nevertheless, IFP continued to reproduce,

   distribute, import, and perform BMG’s musical works and sound recordings in the U.S.

   without authorization.

          72.     Indeed, on May 20, 2009, Mr. Borgeson specifically asked Mr. Taverner, in

   light of the lack of licenses and the time Mr. Isherwood suggested it might take to secure

   them, “what direction would you like us to pursue in regards to new and existing business?

   Should we continue ‘as is’ for now. . . it would be great to get a more clearer understanding

   of your position on the matter.” On May 22, 2009, Mr. Borgeson got his answer from

   Gerard Shadrick of IFP: “[F]or now (right or wrong) we are maintaining the current status

   quo.” GEE0006247. Indeed, IFP continued to exploit BMG’s musical works and sound

   recordings in the U.S. without authorization.

          73.     By May 2012, IFP still did not have in place the licenses they required to

   operate in the U.S. During that time, Mr. Isherwood repeatedly requested information from

   IFP that would allow him to proceed with licensing negotiations on IFP’s behalf, but at

   times IFP questioned the need for such information. GEE0006333,

   Yet, IFP continued to reproduce, distribute, import, and perform BMG’s musical works

   and sound recordings in the U.S. without authorization. These decisions were made at the

   at the highest levels of its international management.

          74.     To refute evidence of willful infringement, a defendant must establish a

   good faith belief in the innocence of its conduct. Peer Int’l, 909 F.2d at 1336. IFP, in my



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   view, could not demonstrate to a trier of fact that it believed its use of BMG’s works were

   authorized. The record clearly demonstrates they knew they were operating without the

   required licenses. Meanwhile, the unauthorized use of BMG’s works were helping IFP

   generate revenues from the airlines. Under these circumstances, a trier of act could

   certainly find IFP’s infringement was willful. And, since the facts relevant to willfulness

   were admitted by IFP, or are otherwise undisputed, willfulness can be appropriately

   resolved on summary judgment. Peer Int'l, 909 F.2d at 1335-36; Sega Enters., 948 F.Supp.

   at 936.



               IV. PUBLICATIONS AUTHORED WITHIN THE PRECEDING 10 YEARS

             The following is a list of all publications authored by me within the preceding 10

   years:

                •   Kohn On Music Licensing, 5th Edition (Wolters Kluwer, 2019)

                •   “How Book Publishers Can Beat Amazon,” New York Times (May 30,
                    2014)

                •   Kohn On Music Licensing, 4th Edition (Wolters Kluwer 2010)


    V. LIST OF ALL OTHER CASES DURING THE PAST FOUR YEARS IN WHICH I TESTIFIED
                            AS AN EXPERT AT TRIAL OR BY DEPOSITION

             In 2018, I testified by deposition as an expert on the interpretation of the terms of

   an exclusive recording agreement between Universal Music Group and the recording artist

   known as “50 Cent,” as well as industry practices concerning the use of the name, voice

   and likeness of a recording artist in connection with the marketing and distribution of sound




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   recordings of other recording artists. Curtis James Jackson, III (p/k/a/ 50 CENT) v. William

   Leonard Roberts, II (p/k/a/ RICK ROSS), Case No. 3:17-cv-00550-WWE (D. Conn.).

          In 2018, I testified by deposition as an expert on the interpretation of an agreement

   between songwriters and a production music library. Twelve Sixty LLC v. Extreme Music

   Library Ltd., Civil Case No. 1:17-CV-01479-PAC (S.D.N.Y.).

          In 2015, I testified by deposition as an expert in Fahmy v. Jay-Z (aka Shawn

   Carter), et. al, Civil Action No. 2:07-CV-05715 CAS (PJWx), concerning the interpretation

   of various music publishing and license agreements relating to the digital sampling of a

   musical work and sound recording in another sound recording.


                      VI. DATA OR OTHER INFORMATION CONSIDERED
                                 IN FORMING THESE OPINIONS


      The data or other information I considered in forming these opinions include:

          •   Complaint dated May 3, 2018
          •   Documents      produced    by    Defendant,    including       documents   labeled
              GEE0000101-GEE0010632.
          •   Other documents produced in this action, as well as and other data or
              information cited or referred to in the body of this report.



                                  VII. EXPERT WITNESS FEE

      My fees for services rendered as an expert witness in this case is $650.00 per hour.




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                  VIII. INTENDED TRIAL EXHIBITS AND SUPPLEMENTATION


      At trial, I reserve the right to use all materials considered in preparing this report,

   including without limitation the materials set forth in the foregoing sections.

      I understand that additional reports and depositions of experts and other witnesses may

   be conducted in this matter. I plan on reviewing their deposition transcripts when they

   become available and reserve the right to supplement or amend this report after such

   review.

      Finally, I reserve the right to supplement or modify this report and the opinions

   expressed based upon additional facts, documents, or other materials that may be brought

   to my attention.




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   I declare under penalty of perjury of the laws of the United States that the foregoing is true

   and correct to the best of my ability and that this declaration was executed on the date set

   forth below in New York, NY.




                                                       Respectfully submitted,




   May 7, 2019
                                                       ______________________________
   Date                                                Robert H. Kohn




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